Case 4:17-Cr-OOZ€Z-`WTI\/|-GRS Document 35 Filed OALOS/l$ Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

 

 

 

 

SAVANNAH DIVISION
CASE NO. 4=17CR262 MINUTES JUDGE CODE: 3IBC
UN]TED STATES of AMERICA /
€f
Plaintiff Counsel for Plaintiff
vs .
BRANDON WILLIAMS ARVO HENIFIN (CJA)
Defendant Counsel for Defendant
ALSO PRESENT: SHERRI F. FLANDERS Coumoom Deputy Clerk
FT COurt Reporter
100 BRIAN MILLS U. S. Probarion
SAVANNAH, GA
JAUARY 8, 2018
DATE PLACE

CASE CALLED THIS DATE [:OR INITIAL API’EARANCE & ARRAIGNMENT
CHARGES & MAX. PENALTIES SET OUT BY THE COURT.

 

 

 

RIGHTS ADVISED.

 

 

DFT. PLEADS NOT GUILTY; PLEA ENTERED

 

 

GOV'T. WILL FOLLOW LIBERAL DISCOVERY POLICY

 

 

PRETRlAL MOTIONS DEADLINES SET OUT BY THE COURT; ORDER ENTERED

Cwn§c,l rcau€:+s 50 ajd+`l. da\&m +r) -H` 16 FT m%n$; BUNT€D.
BOND: moogr' é.~+o.+e h;)bL

 

 

 

 

 

 

 

 

33

Case 4:17-cr-OO262-WTI\/|-GRS Document 35 Filed 01/08/18 Page 2 of 2
VERDICT

We, the jury find the defendan|.,

 

 

 

 

this day of , 2017.
Foreman
PLEA
The defendant, BRANDON LAMAR WILLIAMS , waives arraignment and pleads _I]Lg£l_tl____ in

 

 

open Court1 this 9TH day of JANUARY , 20|7. f

 

 

\/J ~.w' =.'.
§ 53 §
w k
cr 5 §
._. = w
__ 3 '€;
t '._ >\ Q §
== co
§§ _g b v *=:
U*- == m §§
453 § l:.l Z l §
‘:E ZE f" § l=l : _
+.»¢ g < 0 ._'
'E“ k 'GQ 2 N N
mg mm Hg r Ol
w= ~ Q> §: s sr
49"' <
§§ § c:s 0 m
v.= i-' r-¢ :)
cng "‘ \" q m
'::E § ® §
§§ Z :
-=m h-| §
b 0
E
L|
EL
0
.E
'C!
l,!
:¢...
LLC

 

 

 

 

 

 

 

 

 

PLEA
Thc defendant(s)

 

 

being fully informed and advised by the Court of` the charge against him (them), and of his (thcir) legal right to the assistance of

counsel, and that counsel would be appointed by the Court il`desired, hereby waives arraignment and benefit ofcounsel, and pleads

 

In open court this day of , 2017.

 

 

 

 

 

Witness:

 

C`lerk, United Sta!es Caurl.s'

